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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Master Case
                                                                          9                                           )   No. CV-07-5944-SC
                                                                                                                      )
                                                                         10   This Order Relates To:                  )   Individual Case
                               For the Northern District of California
United States District Court




                                                                                                                      )   No. CV-14-2058-SC
                                                                         11                                           )
                                                                              ALL DIRECT PURCHASER ACTIONS            )   AMENDMENTS TO ORDER IN RE
                                                                         12                                           )   CLASS CERTIFICATION WITH
                                                                                                                      )   RESPECT TO THE THOMSON AND
                                                                         13                                           )   MITSUBISHI DEFENDANTS
                                                                                                                      )
                                                                         14                                           )
                                                                         15
                                                                         16
                                                                         17        The Court now turns to a request made by Counsel for Thompson
                                                                         18   in a letter dated July 13, 2015, ECF No. 3913.         In consideration
                                                                         19   thereof, the Court amends its earlier order dated July 8, 2015, ECF
                                                                         20   No. 3902 in the following two ways:
                                                                         21        First, the relevant portion of footnote 1 is amended as
                                                                         22   follows:
                                                                         23        As used herein, "Thomson" refers to: Technicolor SA
                                                                                   (f/k/a Thomson SA) ("Thomson SA") and Technicolor USA,
                                                                         24        Inc. (f/k/a Thomson Consumer Electronics, Inc.)
                                                                         25        ("Thomson Consumer"), and Technologies Displays
                                                                                   Americas LLC (f/k/a Thomson Displays Americas LLC)
                                                                         26        ("TDA"). While DPPs have asserted that Thomson is
                                                                                   allied with Defendant Videocon Industries, Ltd.
                                                                         27        ("Videocon"), Thomson has since clarified that it is
                                                                                   not allied with Videocon. As used herein,
                                                                         28
                                                                                   "Mitsubishi" refers to: Mitsubishi Electric
                                                                               Case 3:07-cv-05944-JST Document 3926 Filed 07/20/15 Page 2 of 2




                                                                          1        Corporation, Mitsubishi Electric US, Inc. (f/k/a
                                                                                   Mitsubishi Electric & Electronics USA, Inc.), and
                                                                          2        Mitsubishi Electric Visual Solutions America, Inc.
                                                                          3        (f/k/a Mitsubishi Digital Electronics America, Inc.).
                                                                                   Thomson and Mitsubishi are referred to collectively
                                                                          4        herein as "Defendants."

                                                                          5        Second, the Court amends the portion of the sentence in the
                                                                          6   first paragraph that reads, "Thomson has settled and stipulated to
                                                                          7   class certification, pending hearing" (footnote omitted) to now
                                                                          8   read: "Thomson has settled and stipulated to class certification
                                                                          9   for the purposes of settlement, pending hearing" (footnote
                                                                         10   omitted).    The Court makes this latter change both to more
                               For the Northern District of California
United States District Court




                                                                         11   accurately reflect the record and as a courtesy upon receipt of a
                                                                         12   justified, respectful request.      However, the Court warns that it
                                                                         13   will not look favorably on late attempts by counsel to challenge
                                                                         14   the Court's ruling on class certification absent the normal reasons
                                                                         15   which justify reconsideration of any other decision of the Court.
                                                                         16        The remainder of the order remains unchanged.          The filing of
                                                                         17   these two amendments does not change the original date of the order
                                                                         18   for any purposes, including calculating any deadlines dependent
                                                                         19   thereupon.   If DPPs' Counsel failed to include Videocon as a
                                                                         20   Defendant named in its motion in the belief that it was allied with
                                                                         21   Defendant Thomson, DPPs' Counsel must file notice and alternative
                                                                         22   proposed language with the Court within 10 days of this order.
                                                                         23
                                                                         24        IT IS SO ORDERED.
                                                                         25
                                                                         26        Dated: July 20, 2015
                                                                         27                                            UNITED STATES DISTRICT JUDGE
                                                                         28



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